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17

18                              UNITED STATES DISTRICT COURT

19                             NORTHERN DISTRICT OF CALIFORNIA

20                                  SAN FRANCISCO DIVISION

21

22   LOGITECH EUROPE S.A.,                         CASE NO. 3:15-cv-01632-WHA

23                     Plaintiff,                  STIPULATION AND [PROPOSED]
                                                   ORDER OF FINAL DISMISSAL
24               v.                                WITH PREJUDICE

25   ACROX TECHNOLOGIES CO., LTD.,                 Judge: Hon. William H. Alsup

26                     Defendant.

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28
                                                                  STIPULATION AND [PROPOSED] ORDER OF
                                                                        FINAL DISMISSAL WITH PREJUDICE
                                                                           CASE NO. 3:15-CV-01632 WHA
          Case 3:15-cv-01632-WHA Document 58 Filed 11/10/15 Page 2 of 2




 1          IT IS HEREBY STIPULATED AND AGREED, by and between Plaintiff Logitech

 2   Europe S.A. and Defendant Acrox Technologies Co., Ltd., pursuant to Fed. R. Civ. P. 41(a)(1), that

 3   all claims asserted by and between them in the above-captioned matter be, and upon approval are,

 4   dismissed WITH PREJUDICE, with each party to bear its own costs, expenses and attorneys’ fees.

 5   The Court will retain jurisdiction over this matter for the limited purpose of enforcing the parties’

 6   settlement agreement.

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 8
     Dated: November 5, 2015                      ORRICK, HERRINGTON & SUTCLIFFE LLP
 9

10                                                By:                 /s/ I. Neel Chatterjee
                                                                     I. NEEL CHATTERJEE
11                                                                     Attorneys for Plaintiff
                                                                    LOGITECH EUROPE S.A.
12

13   Dated: November 5, 2015                      FINNEGAN, HENDERSON, FARABOW, GARRETT
                                                  & DUNNER, LLP
14
                                                  By:               /s/ Ming-Tao Yang
15                                                                  MING-TAO YANG
                                                                  Attorneys for Defendant
16                                                            ACROX TECHNOLOGIES CO., LTD.

17

18          Filer’s Attestation: Pursuant to Civil Local Rule 5-1(i)(3), I attest under penalty of perjury

19   that concurrence in the filing of the document has been obtained from its signatory.

20
     Dated: November 5, 2015                        Respectfully submitted,
21
                                                                     /s/ I. Neel Chatterjee
22                                                                I. NEEL CHATTERJEE
23

24          PURSUANT TO STIPULATION, IT IS SO ORDERED.

25
              November 10
     Dated: ____________________, 2015                      ____________________________
26
                                                            Honorable William H. Alsup
27                                                          United States District Court Judge

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                                                                                 STIPULATION AND [PROPOSED] ORDER OF
                                                        1                              FINAL DISMISSAL WITH PREJUDICE
                                                                                          CASE NO. 3:15-CV-01632 WHA
